USCA11 Case: 14-13158    Document: 29    Date Filed: 10/22/2014   Page: 1 of 7


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                        CASE NO. 14-13158
                 ________________________________

              UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT

                   RICHARD LOBERGER, ET AL.,
                    PLAINTIFFS-APPELLANTS,

                                    v.

                       DEL-JEN, INC., ET AL.
                     DEFENDANTS-APPELLEES.


     ON APPEAL FROM THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF FLORIDA
                  PANAMA CITY DIVISION


      DEFENDANT-APPELLEE J&J MAINTENANCE, INC.’S
RESPONSE TO PLAINTIFFS-APPELLANTS’ TIME SENSITIVE MOTION
         FOR RECONSIDERATION OF CLERK’S ORDER


                        Respectfully Submitted By:

            Stanford G. Wilson, Georgia State Bar No. 769175
              Patrick L. Lail, Georgia State Bar No. 431101
              Sean M. Libby, Georgia State Bar No. 363631

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  USCA11 Case: 14-13158       Document: 29       Date Filed: 10/22/2014   Page: 2 of 7


RICHARD LOBERGER, ET AL. v. DEL-JEN, INC., ET AL.,
Case Number: 14-13158

      CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                   DISCLOSURE STATEMENT

      Pursuant to Rule 26 of the Federal Rules of Appellate Procedure and

Eleventh Circuit Rule 26.1-1, the undersigned counsel of record for Defendant-

Appellee J&J Maintenance, Inc. hereby file the Certificate of Interested Persons

and Corporate Disclosure Statement and state that the following additional

companies have an interest in this suit:

 1.   The Hartford Financial Services Group, Inc. (HIG) (Parent corporation of

      Twin City Fire Insurance Co.)

 2.   Twin City Fire Insurance Co. (Insurance carrier of Defendant J&J

      Maintenance, Inc.)

      There are no publically traded corporations that are a party in this litigation;

however, Defendant-Appellee Del-Jen, Inc. has stated that it is a subsidiary of

Fluor Enterprises, Inc., which owns 10% or more of Del-Jen and is a publicly

traded corporation.

      No publicly traded corporation owns 10% or more of Defendant-Appellee

J&J’s stock.




                                           C-1
 USCA11 Case: 14-13158      Document: 29     Date Filed: 10/22/2014   Page: 3 of 7



        DEFENDANT-APPELLEE J&J MAINTENANCE, INC.’S
     RESPONSE TO PLAINTIFFS-APPELLANTS’ TIME SENSITIVE
      MOTION FOR RECONSIDERATION OF CLERK’S ORDER

      Defendant-Appellee J&J Maintenance, Inc. (“J&J”) responds to Plaintiffs-

Appellants’ Motion for Reconsideration of Clerk’s Order as follows:

      Eleventh Circuit Rule 42-2(c) empowers the clerk to enter an order

dismissing an appeal if the appellant fails to file a brief or appendix by the

applicable due date. Appellants acknowledge that their brief was due on October 6

and that the brief was not filed until October 7. [Appellants’ October 17, 2014

Time Sensitive Motion for Reconsideration of the Clerk’s Order, pp. 2, 6.]

      Once the order of dismissal is entered, the “exclusive method” for requesting

reinstatement is the timely filing of a motion to set aside the dismissal, showing

“extraordinary circumstances” for the reinstatement. 11th Cir. R. 42-2(e)

(emphasis added). Appellants failed to address the “extraordinary circumstances”

standard in their motion. They did, however, make certain representations which

may bear on whether the circumstances are extraordinary:

    Appellants previously obtained a 30-day extension to file their initial brief,

      making it due on October 6, 2014. [Appellants’ October 17, 2014 Time

      Sensitive Motion for Reconsideration of the Clerk’s Order, p. 1.]
 USCA11 Case: 14-13158       Document: 29     Date Filed: 10/22/2014   Page: 4 of 7



    Appellants attempted to upload their brief “just before midnight” on October

      6, 2014. [Appellants’ October 7, 2014 Second Motion for Enlargement of

      Time in Which to Serve and File Initial Brief, p. 1.]

    Appellants’ Motion to Set Aside provides evidence that the brief was e-

      mailed between Appellants’ counsel on multiple occasions – all after the

      midnight deadline had passed. The motion does not show steps having been

      taken before midnight on October 6, 2014. [Appellants’ October 17, 2014

      Time Sensitive Motion for Reconsideration of the Clerk’s Order, pp. 2-4.]

    “The undersigned is a rare filer on this Court’s website …” [Appellants’

      October 17, 2014 Time Sensitive Motion for Reconsideration of the Clerk’s

      Order, p. 6.] According to the Court’s website, Appellants’ counsel has

      been counsel of record in five appeals in 2014 alone – Appeal Docket Nos.

      14-10447; 14-12140; 14-12650; 14-13158 (this appeal); and 14-14022.1

    “The undersigned takes seriously strict compliance with court rules.”

      [Appellants’ October 17, 2014 Time Sensitive Motion for Reconsideration

      of the Clerk’s Order, p. 6.] In Appeal No. 14-12650, Appellants’ counsel

      sought an extension to file his initial brief at 11:59 p.m. on the original due

      date (July 28, 2014). Although the initial brief was timely filed, the clerk

      1
        To the extent Appellants’ counsel means that he rarely personally files
pleadings in this Court, it was not prudent to wait until “just before midnight” to
begin uploading the brief.
                                        -2-
 USCA11 Case: 14-13158       Document: 29      Date Filed: 10/22/2014   Page: 5 of 7


      dismissed that appeal on October 17, 2014, for failure to file an appendix. In

      Appeal No. 14-14022, Appellants’ counsel sought an extension to file his

      initial brief at 11:59 p.m. on the original due date (October 20, 2014).

      J&J respectfully requests that Appellants’ motion be denied because it does

not appear that the circumstances presented in the motion are extraordinary.

      Respectfully submitted, this 22nd day of October 2014.

                                                   s/Sean M. Libby
                                                   Stanford G. Wilson
                                                   Georgia Bar No. 769175
                                                   Patrick L. Lail
                                                   Georgia Bar No. 431101
                                                   Sean M. Libby
                                                   Georgia Bar No. 363631

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                                         -3-
 USCA11 Case: 14-13158        Document: 29   Date Filed: 10/22/2014   Page: 6 of 7



                        CERTIFICATE OF SERVICE

      I herby further certify pursuant to Fed. R. App. P. 25(d)(1)(B) and 11th Cir.

R. 25-3 that the foregoing DEFENDANT-APPELLEE J&J MAINTENANCE,

INC.’S RESPONSE TO PLAINTIFFS-APPELLANTS’ TIME SENSITIVE

MOTION FOR RECONSIDERATION OF CLERK’S ORDER has been filed

with the Clerk of Court using the CM/ECF System which will automatically send

email notification of such filing to the following attorneys of record at the

following e-mail addresses:

                                James Garrity, Esq.
                               jim@mattoxlaw.com

                               Marie Mattox, Esq.
                              marie@mattoxlaw.com

                                James Seegers, Esq.
                              jseegers@bakerlaw.com

      Respectfully submitted, this 22nd day of October 2014.

                                                   s/Sean M. Libby
                                                   Stanford G. Wilson
                                                   Georgia Bar No. 769175
                                                   Patrick L. Lail
                                                   Georgia Bar No. 431101
                                                   Sean M. Libby
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